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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                              ORLANDO DIVISION

JOHN NORTHRUP,

                  Plaintiff,

v.                                                   Case No: 6:17-cv-2025-Orl-37TBS

FLORIDA’S FINEST INSURANCE,
INC.,

                  Defendant,


                               ORDER OF DISMISSAL

     This cause is before the Court upon the filing of the Notice of Voluntary Dismissal

by Stipulation (Doc. 21) filed March 12, 2018. Accordingly, it is ORDERED AND

ADJUDGED:

     1.     That the above-styled cause is hereby DISMISSED WITH PREJUDICE,

           subject to the right of any party to move the Court within sixty (60) days

           thereafter for the purpose of entering a stipulated form of final order or

           judgment; or, on good cause shown, to reopen the case for further

           proceedings.

     2.    All pending motions are denied as moot and all deadlines and hearings are

           terminated.

     3.    The Clerk is DIRECTED to close this file.

     DONE AND ORDERED in Chambers in Orlando, Florida, on March 13, 2018.
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Copies: Counsel of Record
